






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00739-CV






Roosevelt Hutchins, Jr., TDCJ #662815 and Phillip A. Dick, Appellants


v.


State of Texas, Orla Sharp and Valencia Ann Pollard, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. D-1-GN-05-002014, HONORABLE SCOTT H. JENKINS, JUDGE PRESIDING





M E M O R A N D U M  O P I N I O N


		Appellants Roosevelt Hutchins, Jr., and Phillip A. Dick appeal from the district
court's dismissal of their claims against appellees the State of Texas, Orla Sharp, and Valencia Ann
Pollard.  On February 1, 2007, appellants filed a motion for extension of time to file their brief.  We
granted the motion on February 2, extending the deadline for filing a brief until March 8, 2007.  On
April 3, 2007, this Court notified appellants that their brief was overdue and that if they failed to file
a brief or reasonably explain the failure to file a brief by April 13, we would dismiss the appeal.  See
Tex. R. App. P. 38.8(a)(1).  The deadline has passed and we have not received either a brief or a
response from appellants.  Accordingly, we dismiss the appeal for want of prosecution.  See
Tex.&nbsp;R.&nbsp;App. P. 42.3

							____________________________________

							Bob Pemberton, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   June 11, 2007


